Case 1:21-cv-21079-BB Document 28 Entered on FLSD Docket 10/20/2021 Page 1 of 38




                           UNITED STATES DISTRICT CO IJRT

                           SOUTH ER N DISTRICT OF FLO RID A



   SECURITIES AN D EXCHAN GE CO M M ISSION ,

                        Plaintiff.                         DEC LA R ATIO N

                                                       N o.1:21-CV-21079-Bloom

  M IN TBROKER IN TERNATIONAL,LTD.,                        Hon.Beth Bloom
  f/k/a SW ISS AM ERICA SECURITIES LTD.
  and d/b/a SU RETRADER,and
  GUY G ENTILE,a/k/a GUY GENTILE NIGRO,


                        Defendant.



                        D ECLA M TIO N O F G UY G EN TILE IN SU PPO R T
                           M OTION REQUESTING ENLARGEM ENT OF
                               TIM E TO AN SW ER TH E C O M PLA IN T

                GuyGentilepursuantto28U.S.C.j1746declaresthefollowingsubjectto
  penaltiesofperjury:
                        Iam actingpro se in thism atter.

                2.      lhavepersonalkkowledgeofthematterssetforth below,and theexhibits
  annexed hereto are true and correctcopiesofthe docum entsdescribed herein.

                        lsubm itthisD eclaration in supportofm y m otion seeking enlargem entof

  tim eto answ erthe com plaintin thism atlerform yselfand p y co-defendantM intB roker

  lntemational,Ltd,(ûtM B1'')inwhichIhaveasubstantialinterest.
                4.      A ttached as ExhibitA isa true and correctcopy ofan

  O rderforA ppointm entofProvisionalLiquidatorttReceiver''on M arch 19,2020.
Case 1:21-cv-21079-BB Document 28 Entered on FLSD Docket 10/20/2021 Page 2 of 38


                        Iam a shareholderand adirectorot-theco-defendantin this

   m atter.M BI.lseek to protectm y interestin 5,
                                               '1B Iby the unusualrequestto seek an

   extension ofM B1-s answ ering tim e -since ldo notand cannotrepresentM BIin

   thismatter-intheinterestsofjusticeandfaimessto seekthetruthofmattersrather
  than resolution by default.

                        AsthecomplaintOfthe SEC indicates,M B1isinvolved in

  litigation in the Baham as,its country offonnation,whereasthe Securities

  CommissionoftheBahamas(SCB)broughtacauseseekingtodissolve/lwwind-up''
  M BI.TheBaham ian Suprem eCourt,CommercialDivision case ispending in

  N assau underCausenum ber00014 of2020,entitled L:IN THE M ATTER ofthe

  Com paniesAct,CH.308 AND IN THE M ATTER ofan Application underthe

  Securitieslndustry Act,2011AND IN THE M A TTER OF M intBroker

  Intemational,LTD.(FORM ERLY SwissAmericaSecurities,LTD.)T/A SURE
  TRA DER Sw issA m erica Securities,a Registered Securities Firm ''H on.M rs.

  Justice Stew artpresiding.

                        M BIin the B aham ian case is underReceivership and a1lof

  its booksand recordsw ere turned overpursuantto courtorderto the receiver.

                        AsashareholderofM BI,lchallengedtheSCB overthe
  w ind-up ofM BI.

                        A ttached as ExhibitB isa tnle and correctcopy ofA dam Ford's

  D eclaration filed 3/5/2019.

                 l0.    M y Baham ian attorney,atsom e pointin the trial,m otioned the

  Courtfora stay on the liquidators/receiversfrom acting untilthe detennination ofthe case;

  M rs.Justice Stew artthen ordered during the trialthatt'nothing happens''regarding the

  Receiver.M y Baham ian counseladvised m e thatthe Receivercannotactdue to thethreat
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   ofcontemptaswell.Norvvould any reqklestto actnow would bem eaningfulbecause.as

   advised b) my Baham ian counsel.by thetime any requestismadeorheard.therewould

   m ostlikely bea decision.orthe request/motion denied.becauseofa forthcomingdecision.

   M y Baham ian counselalso advised m e thatIcan nothire counselto representthe

   company asallofmy powersasCEO & Directorhave been removed when the Receiver

   wasappointed.

                         By having M BIdefaulthere in this case,affectsm y interestsin M BI

   negatively in the follow ing m anners:

   a.In applying for otherindustry licenses,having a com pany wound dow n by a courtorder

   relieverisa negative and affectsm y ability to earn a living'
                                                               ,

  b.DefaultinginthisactionwillcauseamonetaryjudgmenttobeenteredNOT onthe
  m eritsofthis action butby the unusualcircum stances M B lisplaced by this action and the

  Baham ian cause.

  c.The receiverisin controlofthe records forM B 1which M B1and m yselfneed to defend

  thisaction.

                         TheSEC waited6yearstobringthisaction.SajaadMatin,thenan
  SEC attorney, advised Adam Ford,who represented m e intheNJDOJand SEC cases,

  thatthey w ould file this case in M arch 2016.See ExhibitC ,M r.M atin'sem ailto A dam

  Ford.

                         Attached asExhibitC isatrueand correctcopy ofan email

  exchangebdtween Adam Ford,who represented me in the 2016 DOJ& SEC caseand

  SajjadM artin,from 10/11/17-10/17/17.
                         1have em ailed the SEC priorto m aking thism otion seeking their

  consentto this extension.They are aw are ofthe Baham as action because they referenced it
Case 1:21-cv-21079-BB Document 28 Entered on FLSD Docket 10/20/2021 Page 4 of 38


   in theircolnplaint.and they haveworked with the SCB againstNIBIforquite some tim e.

                  15.     A ttached asExhibit D isa true and correctcopy ofa letlerIsentto

   both the Courtand the SEC requesting m ore tim e w hich the SEC did notrespond.

                          lam also relying on the reasons in ExhibitD foran enlargem entof

  tim e to file an answ er.

                         Attached asExhibitE isatrue and correctcopy ofan emaillsent

  to M s.Sum on O ctober 12,2021 at 11:IOA M

                  18.    A ttached as ExhibitF is a true and correctcopy ofan em ailsent

  from M s.Sum ,on Friday,October15,2021at3:43PM ,asking fora transcript,butdid not

  objecttotherequest.
                  19.    Due to m ypro se status,Iam notable to file electronically,and can

  notfile up to m idnightor on w eekendslike the SEC can,and lam going through a

  learning curve asbestas lam able to on procedureson filing and researching case law on

  how to bestdefend myself.

                         A ttached as ExhibitG is a true and correctcopy ofa screenshotof

  mypaceraccountshowingoverfive(5)docketed caseswiththeSEC.

        Ideclareunderpenaltyofperjurythattheforegoingstatementsmadebymearetrue.

  Dated:Oct.16,2021                                                        N


                                                             G Y GENTIW
Case 1:21-cv-21079-BB Document 28 Entered on FLSD Docket 10/20/2021 Page 5 of 38




                           UNITED STATES DISTRICT COURT

                          SOIJTHERN DISTRICT OF FLORID A



      SECURITIES AN D EXCHANGE COM M ISSION,
                                                             NO TICE OF APPEAR AN CE
                           Plaintiff,
                                                             No.l:2l-CV-21079-Bloom

                                                             Hon.Beth Bloom
      M INTBROKER IN TERNATIONA L,LTD.,
      îlklz SW ISS AM ERICA SECURITIES LTD .
      and d/b/a SU RETRADER,and
      G UY GEN TILE,a/lt/aG UY GENTILE N IGRO,


                          Defendant.

                                    N OTICE OF APPEARANCE
       1,GUY GENTILE,(-tGentile''),respectfully'givesnoticeofappearance,asprose.Irequestthat
                   alInoticesand correspondence be sentto the below listed address.

                                        Guy Gentile
                                        103 AveDe D iego
                                        Apt52202
                                        San Juan,PR 009 l1
                                        787-363-7833
                                        guygentile@ outlook.com



     Dated:                                                   Respec ully subm itted,
     October 16,202l

                                                              GU      EN
                                                              Defendant,pro u
                                                                            :e
                                                              l03 AveDe Diego
                                                              Apt52202
                                                              San Juan,PR 0091l
                                                              Tel:787-363-7833
                                                              guygentile@ outlook.com
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                           UNITED STATES D ISTR ICT CO URT

                           SOUTHERN D ISTRICT OF FLO RIDA



     SECURITIES AND EXCHANGE COM M ISSION ,

                           Plaintiftl                        ORDER

                                                             No.1:21-CV-21079

     M W TBROIQER m TERN ATIONAL,LTD .,                      Hon.Beth Bloom
     f/k/a SW ISS AM ERICA SECURITIES LTD.
     and d/b/a SURETRADER,and
     GUY GENTILE,alk/a GUY GENTILE NIGRO,


                           Defendant.




             Upon Consideration ofDefendantGuy Gentile'sM otion forEnlargementofTim eto

     AnswerorOtherwise Respond to Com plaint,the Plaintiff'sresponsethereto,forgood cause shown,

     and the entire record herein,itishereby ORDERED thatthe m otion is GR ANTED.

             ltisfurtherORDERED thateach DefendantshallGle an answerorotherwiserespond to

     the com plaintby 90 daysafterthe date ofthisOrder.

     ItisSO ORDER ED this               day ofOctober202l.




                                                          THE H ON OM BLE BETH BLO O M
                                                          UM TED STATES DISTRICT JUDGE
Case 1:21-cv-21079-BB Document 28 Entered on FLSD Docket 10/20/2021 Page 7 of 38




                  E X H IB IT A
Case 1:21-cv-21079-BB Document 28 Entered on FLSD Docket 10/20/2021 Page 8 of 38
                                                                             SUPREM E COURT
            IN THE SUPREM E CO URT OF THE BAHAM AS                                Mlq l92029
            Com nlercialDivisien                                                Nassau,Baàamas
                                                                        CAUSE NO.00014 of2020


                              IN THE M ATTER oftheCom panie:Act,Ch.308

                                                     AND

                   IN THE M ATTER ofan Application undcrthcSccqritieslndustry Act,2011

                                                     AND
              '
                  IN THE M ATTER ofM INTBROKER INTERNATIONAL LTD.(FORM ERLY
1 SSWI
     *'*S
     -'
        SAMERICASSECURITIESLTD.)T/ASURETM DERSwlssAmerica
                   -


L$ )p      '-
                 ecurities,aRtgisteredSecuriticsFirm.
 '        j


           ORDER FOR APPOINTM ENT OF PROVISIONAL LIQUIDATOR


          Before TheH onorablcJllstice1an W inder,a Judge ofthe Suprem e CourtofThc
          Baham as,in Cham bers.

                   UPON H EA RING M essrs.Gawaine W ard and Gladstone Brown ofcounselforlhe
          Secul'
               itiesCommissionofTheBahamasCitheCommission''),thePetitioner/Applicantherein,
          upon itsEx ParteSum monsdated and filed herein on the5'hday ofM arch,2020 tbran order
          thatIgalW izmanandEleanorFisherbeappointedjointprovisionalliquidatorsofM lntbroker
          International Ltd. (Fonnerly Swiss America Securities Ltd.) T/A Sure Trader ('tthe
          Ctlmllaay''l.
                 ANI)U PON READING thePetition presented by theComm ission,filed htl-ein on the 5t11
          M arch 2020.
*   .   I.

        Case 1:21-cv-21079-BB Document 28 Entered on FLSD Docket 10/20/2021 Page 9 of 38
                                             Page2 of4

                  AND UPON READING theAffidavitsofChristina R.Rolle,allfiled hereinon 5thM arch
             2020concerning theCompany'sprestntstatus,nam ely that:
                  a. theCompany iscurrently non-operational;
                    b,      theCompany soughtto wind up voluntalily,butfailed to meettheconditions
                            necessary forthisto occur;
                    c.      Asa consequence,theCompany'sregistration iscurrently suspended;and
                                                                                      .



                    d.      the Com mission seeksto protectthe welfareofinvestorsand/qrclients,and
                            theCom pany and clients'assets,infonnation and/orrecords.

                   AND PPON the Petitioner/Applicantundel-taking by itscounselto pay any damage
             stlffered by the Company as a resultof this order and/orthe appointlhentofprovisional
             liquidatorsin theevcntthatthewinding up petition isultimately w ithdrawn o?dismissed.


             IT ISH EREBY O RDERED THAT:

                         Mr.lgalWizman,Licensed InsolvencyTrustee('$LIT''),CharteredInsojvencyand
                         Restructuring Professional('tC1RP'') and an Associate Partnerwith Ernstand
                         Young(EY),havingitsplaceofbusinessatOneM ontagtlePlace,EastBay Street,
                         N assau,Bahamas;and M s.EleanorFisher,ofEY Caym an Ltd.,62 Forum Lane,
                         CalnanaBay,Grand Cayman,KY-1106,Cayman Islands,beappointed asjoint
                         provisionalliqtlidators(JPLs)forthe Company with authority to actjointly or
                         severally.

                  2. ThcJPLSis/are hertby atlthorizcd to:

                      1)      fol'thwithtakepossessionollcollect,andprotectthtproperty andassetsof
                              thesaid Company and itsclients,butnotto distribute orpartwith thesame
                              untilfurtherorder;

                     2)       dischargcrçnts,salaritsandothercurrentexpenses;
'
    ip
          #

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                                              page 3 of4

                            3)      requireofany personwho hasin hispossession documentsol-inlbrmation
                                     in felation to the accöunts,assets and securities oraffairsofthe Company
                                    and itsclientsjto produce thesam e;

                            4)      requireany person who hasinforlnation inrelation to the accounts,assets,
                                    securitiesoraffairsofthe Company astheJPLSm ay require in theexercise
                                    oftheirduties,to attend upon the JPLS gtsuch time and place asthey may
                                    appointandgivethem a11inform ation they may requite;

                           5)       doallotherthingsnecessat-ytopreservetheassetsandestateoftheCompany
                                    and itsclients.

                       3. The JPLSbe atliberty to apply to thisHonourableCourt,asnecessary,forfurther
                          directionspursuantto 0,4,r,5 ofthe CLR.

                            Thewinding up petitionshallbeadvel-tised locally,in Canada,theUSA and inthe
                            UnitedKingdoln, no lattrthan                *         - 7* 20                       ,
                                                                                                                     M
                       5. Thepetitionshallbe heard on                                              .J0O at - - ,



              DXTED the 17thday ofM ARCH,A.D.,2020

              FILED the
                                 191 day ofM arch 2020


                             )-             'H
                                             h'
              The llonourable M r.JtlsticcIan W inder
              JUDGE OF THE SUPREM E COUFT




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                                     Page4 of4


                                    IN TH E SUPREM E COURT O F THE BAIIAM AS

                                    Com m trcialDivisien




                                    IN TI'
                                         lE M AererER nfthe CompaniesAct,1992


                                                       AND


                                    IN THE M ATTER ofan Application underthc
                                    Sectlritie,lndustry Act,2011

                                                       A ND


                                    IN     TH E   M ATTER     of M INTBRO KER
                                    INTERNATIONAV LT9. (FORM ERLY
                                    SW ISS AM ERICA SECURITIES LTD.) T/A
                                    SURE TRADER Swiss Am erica Sectlrities,a
                                    Registered SecuriticsFirnl.



                                           ORDER FOR APPO INTM ENT O F
                                            PROVISIONAL LIQUIDATOR

                                    2020
                                    COM /coln/00014

                                             );u4 f'
                                             ,     - q,
                                                      '
                                                      .
                                                      <t'
                                                        oaa           v 6,44,.4.
                                                                               s
                                   SecuritiesCom m lssion nfThc B ham as
                                   2'
                                    'dFloorPoincianaHouse,
                                   North Building
                                   3lX EastBayStreet
                                   Nassau,Bahamas.

                                   TllePetitioncr/Applicant
Case 1:21-cv-21079-BB Document 28 Entered on FLSD Docket 10/20/2021 Page 12 of 38




                  E X H IB IT B
   Case 2:19-cv-O5155-JLL-JAD Document5-2 Filed 03/05/19 Page 1 of9 PagelD:51
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   FORD O'BRIEN LLP
   Adam C.Ford
   RobertS.Landy +rohacvicepending)
   575 Fifth A venue
   17thFloor
   New York,N ew York 10017
   aford@fordobrien.com
   (212)858-0040
   AttorneysforPlaintff
   UNITED STATES DISTRICT COUR T
   DISTRIC T O F N EW JER SEY
    GU Y GEN TILE,

                      Plaintiff,                     Case N o. 2:19-cv-05155(JLL-JAD)

                                                     (ECF)
    UN ITED STA TES SECU RITIES AN D
    EX CH AN G E COM M ISSIO N ,

                      Defendant.




        D EC LA M TIO N O F A D A M C .FO RD IN SUPPO R T O F A PR ELIM IN A R Y
    INJU N C TIO N A N D T EM PO M R Y RE STR M N IN G O R D ER B RO U G H T BY O R D ER
                                    TO SH O W CA U SE


          Pursuantto28U.S.C.j1746,ADAM C.FORD,counseltoplaintiffGuyGentileinthe
   above-captioned matter,in orderto place certain inform ation and documentsbeforetheCourt

   for consideration,declaresthe follow ing:

                 lam a m em berofFord O 'Brien LLP,counselto plaintiffGuy Gentile in the

   above-captioned m atter,and am adm itted to practice in thisCourt.

   Preliminaty M atters.Necessity qfOr#crto Show Cause.NoticeProvided to Dqfendant
                 Irepresented Gentile as lead counselin tw o previousactionsbefore this Court,

   UnitedStatesv.Gentile(2:16-cr-00155-JLL)andSecuritiesandExchangeCommissionv.
   Case 2:19-cv-O5155-JLL-JAD Docum ent5-2 Filed 03/05/19 Page 2 of9 PagelD:52
Case 1:21-cv-21079-BB Document 28 Entered on FLSD Docket 10/20/2021 Page 14 of 38



   Gentile(2:16-cv-016l9-JLL-JAD),andhaverepresentedGentileinconnectionwithapurported
   investigation conducted by theM iamiRegionalOftk eofthe Sectlritiesand Exchange

   Comm ission,and havepersonalknowledgeofthe matterssetforth below.

          3.      Thism atlerisbroughtbeforethe Courtby orderto show cause pursuantto Fed.

   R.Civ.P.65 and LocalRule 65.1to restrain conductthat,ifpermitted to continue whilethis

   Courtconsidersplaintiffsmotionforapreliminary injunction,willcauseadditionalirreparable
   harm to Gentile. Asevidenced by the exhibitshereto,and discussed in detailin Plaintiffs

   M emorandum ofLaw and theDeclaration ofGuy Gentile subm itted herewith,unauthorized

   subpoenasto financialinstitutionsand otherentitiesissued bythe staffoftheM inmiRegional

   Officeofthe Securitiesand ExchangeComm ission,have,to date,caused six separatetinancial

   institm ionstoterminatetheirrelationshipswith Gentile and hisbusinesses,mostrecently in

   February 2019.Assuch,itw asnecessary to bring thisapplication forrelief

          4.      On M arch 5,2019,Icontacted AmieRiggleBerlin,counselfortheUnited States

   Securitiesand Exchange Com m ission in itsM iam iR egionalO ffice and inform ed herof

   G entile's intentto bring this application,in this Courthouse,at 10:00 am on M arch 6,2019.

   Laterthatday,lprovided M s.Berlin w ith com plete and accurate copies ofa11papersfiled in

   connection w ith the application today.

          5.      On M arch 5,2019,lcontacted N ancy A .Brow n,counselforthe U nited States

   Securitiesand ExchangeCom mission in itsN ortheastRegionalOffice and inform ed M s.Brown

   ofGentile's intentto bring this application,in thisC ourthouse,at 10:00 nm on M arch 6,2019.

   Laterthatday,Iprovided M s.Brow n w ith com plete and accurate copiesofa1lpapers filed in

   connection w ith the application by em ail.

   M attersAddressedinPlaintff'
                              sMemorandum ofLJw
          6.      ln June of2015,daysbefore the expiration ofthe statute oflim itation forclaim s
   Case 2:19-cv-05155-JLL-JAD Docum ent5-2 Filed 03/05/19 Page 3 of9 PagelD:53
Case 1:21-cv-21079-BB Document 28 Entered on FLSD Docket 10/20/2021 Page 15 of 38



   theUnited StatesSecuritiesand Exchange Com mission orDepartm entofJustice could have

   broughtagainstGentilebasedonanyconductthatoccurredin2007-2008(accountingforthe
   agreedtollingperiods),theDepartmentofJusticerequestedthatGentilepleadguiltytoafelony
   and accepta sentenceofprobation.

                  G entile refused,and the Departm entofJustice took no im m ediate action.In

   August2015,Gentilewascontacted by theM inmiofficeofthe SEC regarding a differententity,

   TradersCafé. Gentileoffered to m eetwith the SEC.Hewasnotcontacted again in connection

   with TradersCaféuntilthe following year.

                  TheSecuritiesandExchangeCommissionhasneverdisclosedthesubjectof,or
   suspicions behind the new investigation,exceptto indicate their informalbeliefthata w ebsite of

   theBahamianbroker-dealerdoesnotdeterUs-basedclientsconspicuously-enough (alegal
   position thatcouldeasily belitigated with aprintoutofthe website and thatwould requireno

   subpoenasorfurtherinvestigation).
                  lnM arch 2016,SajjadM atinoftheSecuritiesandExchangeCommission's
   M iam iRegionalOfticeinform ed m ethattheinvestigation ofGentilebeing conducted by his

   oftice wasfounded upon purported authority from theCom mission to investigateTradersCafé,

   LLC.However,theinvestigation wasfocused on Gentileand hiscompanies,which arenot

   m entioned in the Traders Café Form alO rderofInvestigation. Thisconversation took place

   yearsafterthe eventsatissue in the TradersCafém atterhad occurred and afterTradersCafé's

   principalshad pleaded guilty.

                  A tthattim e in 2016,M r.M atin also told m e thatthe SEC M iam iRegionalOffice

   w ascontem plating im m inently filing a civilcom plaintagainstG entile forviolating securities

   lawsonatheorythatûitheforeignbrokerdealerexemptionhagdlbeenblown.''Theforeign
   brokerdealeratissue w as Sw issA m erica d/b/a Suretrader. The SEC claim ed to be in possession
   Case 2:19-cv-05155-JLL-JAD Docum ent5-2 Filed 03/05/19 Page 4 of9 PagelD:54
Case 1:21-cv-21079-BB Document 28 Entered on FLSD Docket 10/20/2021 Page 16 of 38



   ofûtnew evidence''which,itargued,supported a finding ofaviolation oftheanti-solicitation

   regulations.

          11.     M r.M atin represented atthattim e thatthe SEC staffonly needed to ask G entile a

   few finalquestions to close outthe inquiry.Three yearslater,the SEC has yetto bring the action

   M r.M atin had threatened.

                  In m y com municationswith M r.M atin,1infonned him thatFINRA had already

   investigated the identicalquestion ofwhetherSw iss A m erica/suretraderw asim properly

   soliciting U S clients the prioryearand closed the m atterw ithoutany action.

                  O n June 6,2016,the SEC M iam iRegionalO ftk e inquired when G entile w ould

   appearfortestim ony pursuantto asubpoena issued on M arch 30,2016.linform ed theM iam i

   RegionalOfticeoftheSEC thatGentilewould declineto answerquestionsduring histestimony,

   given the crim inalindictm ent,butwould consideransw ering certain w ritten questions.

          14.     lnN ovemberorDecember2016,CarlaM arin,Gentile'scounsel,inform ed the

   SEC M iamiRegionalOfficethatshewould nottestify absentacourtordercompelling herto

   testify,andthatsheintendedto fightany enforcem entaction tiledthatsoughtto compelher

   testim ony.

                  Throughout2017 and 2018,the SEC repeatedly inform ed m e thatitwas on the

   precipiceoffiling an enforcem entaction againstGentile forunspecifiedviolationssurrounding

   hisoperation ofaBahamas-licensed-and-regulatedbroker-dealer,butinvited Gentiletoprovide

   limited testim ohy and to engagein pre-complaint/ûspre-wells''settlem en-
                                                                           tdiscussions.N o such

   discussions evertook place.

          16.     In oralargum entbefore the Third Circuit,the SEC argued thatits Florida-based

   investigation was kûrelated''to the N ew Jersey enforcem entproceeding.

   DocumentaryExhibitsReferenced intheMemorandum ofLtzw


                                                  4
   Case 2:19-cv-O5155-JLL-JAD Document5-2 Filed 03/05/19 Page 5 of9 PagelD:55
Case 1:21-cv-21079-BB Document 28 Entered on FLSD Docket 10/20/2021 Page 17 of 38



          17.    Annexed hereto asExhibit1isatrueand correctcopy oftheForm alOrderof

   PrivateInvestigationdatedNovember25,2013namedIntheMatterofTradersCafé(FL-
   03840).
          18.    Annexed hereto asExhibit2 isatrueand correctcopy ofaletterand subpoena

   from the SEC to Tipalti,Inc.dated A ugust17,2015.

                 A nnexed hereto asExhibit3 is a true and correctcopy ofthe SEC'SA pplication

   foran Orderto Show Cause and an OrderEnforcing Administrative Subpoenasin SEC v.Carla

   M arin dated February 6,2019 and assigned docketnum ber1219-m c-20493-U17 .

                 Annexed hereto asExhibit4 isatrueand correctcopy ofthe SEC'SApplication

   foran Orderto Show Cause and an OrderEnforcing an Adm inistrativeSubpoena Against

   M inTradeTechnologies,LLC dated February 6,2019 and assigned docum entnumber 1:19-mc-

   20496-KM W .

                 Armexed hereto asExhibit5 isatrue and correctcopy ofthe SEC'SNoticeof

   Pending Case filed on February 22,2019 in the U nited States DistrictCourtforthe Southern

   DistrictofFlorida.

          22.    Annexed hereto as Exhibit6 isa true and correctcopy ofa letterdated August17,

   2015 from the SEC M iam iRegionalOfficeto Guy Gentile atSwissAm erica SecuritiesLtd.and

   a subpoena dated D ecem ber22,2017 from the SEC to G uy G entile.

         23.     Alm exed hereto asExhibit7 isatrueand correctcopy oftheUnited States

   Departm entofJustice's lndictm entofM r.G uy G entile dated M arch 23,2016.

                 A nnexed hereto as Exhibit8 isa true and correctcopy ofthe originalcom plaint

   dated M arch 23,2016 in SEC v.Guy Gentile,case no.2:16-cv-01619-JLL-JA D .

                 A nnexed hereto asExhibit9 isa true and correctcopy ofan Order ofthe U nited

   StatesD istrictCourtofthe DistrictofN ew Jersey dated M ay 13,2016 staying the caseSEC v.
    Case 2:19-cv-05155-JLL-JAD Docum ent5-2 Filed 03/05/19 Page 6 of9 PagelD:56
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   Guy Gentilependingtheresolution oftheparallelcrim inalproceeding.

          26.     Annexedhereto asExhibit10 isatrueand correctcopy ofan orderoftheUnited

   StatesDistrictCourtoftheDistrictofNew Jersey ofM ay 12,2017 staying the caseSEC v     .




   Gentile(2:16-cv-01619-JLL-JAD)pendingtheSupremeCourt'sresolutionofKokesh v.
   Securitiesand Exchange Comm ission.

          27.    Annexed hereto asExhibit11isatrueand correctcopy ofaletterrequestfrom

   theSEC dated April26,2017 requesting a liftofthe stay duringthependency ofthe appealof

   the dism issalofthecriminalcase.

          28.    Annexed hereto as Exhibit12 isa true and correctcopy ofa SEC pressrelease

   dated Novem ber 18,2014 relatedto AlbertJ.Scipione.

                 Annexed hereto asExhibit13 isatrue and correctcopy ofan SEC order

   institm ing adm inistrativeproceedingsin the matterofM atthew P.Ionno dated August18, 2014.

          30.    A nnexed hereto asExhibit 14 isa true and correctcopy ofan SEC orderm aking

   findingsandimposingremedialsanctionspursuanttoSection 15(b)oftheSecuritiesand
   ExchangeActof1934 in them atterofAlbertJ.Scipionedated Novem ber4,2015.

          31.    Annexed hereto asExhibit15isa true and correctcopy ofa subpoenadated

   August24,2015 from the SEC to Key Bank and a letterfrom the SEC to Guy Gentileproviding

   him notice thatthe subpoena w asserved.

          32.    A nnexed hereto asExhibit 16 isa true and correctcopy ofthe M ay 9,2017 SEC

   letterto Hon.Joseph A.Dickson,United StatesM agistrateJudge,disclosing anon-public

   investigation into M r.Gentile's com pany.

          33.    Annexed hereto asExhibit17 istrue and correctcopy ofa letterdated M ay 25,

   2017 from the SEC to Hon.Joseph A.Dickson,United StatesM agistrate Judge.

          34.    Annexed hereto as Exhibit18 is a screen shotofthe pop-up on the SttreTrader
    Case 2:19-cv-O5155-JLL-JAD Document5-2 Filed 03/05/19 Page 7 of9 PagelD:57
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   websitethatstatesthatthe servicesprovided on theweb-sitearenotintended to solicitU.S.

   custom ers.

           35.    A rm exed hereto as Exhibit 19 isa true and correctcopy ofa M arch 30,2016

   subpoenafrom the SEC to Guy Gentileand coverletterto Guy Gentilecare ofAdam Ford,Guy

   Gentile'scounsel.

          36.     Annexed hereto asExhibit20 isatrueand correctcopy ofexcerptsofan email

   chain dated M ay 27,2016 and June6,2016 from the SEC to Adam Ford attaching adraft

   declaration ofGuy Gentileand from Adam Ford tothe SEC stating thatthedraftdeclaration was

   improperdated June6,2016.

          37.     Annexed hereto asExhibit21 isa true and correctcopy ofan excerptofan email

   chain ofJuly 6,2017from SajjadMatin oftheSEC toAdam FordandSuzpnnePope,counsel
   forGentile,enclosing and resending adraftdeclaration forM r.Guy Gentilewith acopy ofthe

   draftdeclaration attached.

                  Annexed hereto asExhibit22 isatrueand correctcopy ofatextorderofM ay 13,

   2016 by Hon.Joseph A.Dickson,United StatesM agistrateJudge,continuing thestay ofthecase

   pending furtherOrderoftheCourt,asthatOrderisreflected on the Court'sECF system and

   PA CER .

          39.     Annexedhereto asExhibit23isatrueand correctcopy ofa letterdated M ay 25,

   2017 from Adam Ford to the United StatesDistrictCourtoftheDistrictofNew Jersey seeking

   relieffrom an SEC violation ofthe stay.

          40.    Armexed hereto asExhibit24 isatrueand correctcopy ofan OverseasRegulators

   RequestforA ssistance from the Securities Com m ission ofthe B ahnm as to M r.G uy G entile.

          41.    A nnexed hereto as Exhibit25 are true and correctcopiesoftwo term ination

   lettersfrom Citibank to M r.N icolasA badiotakis,who w asa trustee oftrustsforthe benefitof
    Case 2:19-cv-05155-JLL-JAD Docum ent5-2 Filed 03/05/19 Page 8 of9 PagelD:58
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   M r.Guy Gentile dated April22,2016 notifying him ofthe closure ofaccounts.

           42.    Annexed hereto asExhibit26 isatrue and correctcopy ofaSEC Litigation

   ReleaseN o.24415 dated M arch 4,2019.

           43.    Annexed hereto asExhibit27 isatrue and correctexcerptofan emailchain from

   the SEC to CarlaM arin dated October13,2017 requesting herto comply with a subpoena.

           44.    Armexed hereto asExhibit28 isatrue and correctcopy ofthe SEC amended

   com plaintthatwasfiled in theU .S.DistrictCourtforthe DistrictofN ew Jersey on October6,

   2017.

           45.   A nnexed hereto as Exhibit29 isa true and correctcopy ofan SEC subpoena to

   Carla M arin dated N ovem ber 15,2017.

           46.   Annexed hereto asExhibit30 isatrueand correctcopy ofa SEC subpoenato

   CarlaM arin dated December6,2017.

           47.   Annexed hereto asExhibit31isatrueand correctcopy ofaletterfrom Tipaltito

   Guy GentileatSwissAmerica SecuritiesLtd.dated August10,2015 and terminatingM r. Guy

   Gentile'saccounts.

           48.   A nnexed hereto as Exhibit32 is a true and correctcopy ofa subpoena dated

   August24,2015from theSEC toKeyBankundertheFOlIntheM atterofTradersCafé(FL
   3848).
           49.   Annexed hereto asExhibit33 isatrueand corred copy ofan emaildated M ay 19,

   2017 from Checkbook.io to M r.Guy Gentileterminating theirbusinessrelationship with him .

                 A lm exed hereto as Exhibit34 isa true and correctcopy ofan accountterm ination

   notification from Chase Bnnk to M r.Guy Gentile dated D ecem ber7, 2016.

                 Annexed hereto asExhibit35isatrue and correctcopy ofan accounttermination

   notitk ation from BM O to M r.G uy G entile dated February 7,2019.
   Case 2:19-cv-05155-JLL-JAD Docum ent5-2 Filed 03/05/19 Page 9 of9 PagelD:59
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           52.     Annexed heretoasExhibit36 isatrue and correct
                                                                copy oftheComplaintin this
    action.

           53.     Annexed hereto asExhibit37 isatrueand conrctcopy ofa
                                                                        n em ailfrom Adam
    Ford to thefollowing SEC attorneys:Am ie Berlin Nancy Brown
                                                   ,           , and Si
                                                                      mona 5uh.
          54.      No prior requestforthereliefsoughthereln hasb
                                                                een m adeto thisorany
    other court.

          Ideclaretmderpenaltyofperjuty underthelawsoftheUnitedStatesofAmerica thatthe
   foregoing istnte and correct.

                                                         Executed on M arch 5, 2019



                                                              ADAM C.FORD




                                             9
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                   E X H IB IT C
Case 1:21-cv-21079-BB Document 28 Entered on FLSD Docket 10/20/2021 Page 23 of 38
                                     M onday,M ay 31,2021 at2:36:39 PM AtlantitStandard Tim e

 Subject:privileged
 Date: Tuesday,October17,2017 at5:52:50 PM Atlantic Standard Tim e
 From: Adam Ford <aford@ fordobrien.coml
 To:   Guy Gentile qggenNle@ sw issamericas.com >

 See below:


 Adam C.Ford
 Partner

 FORD O'BRIEN LLP
 575 FiRh Avenue,17th Floor
 New York,N Y 10017
 Tel:+ 1(212)858-0040
 aford@fordobrien.com
 fordobrien.com


        Beginforwarded message:

        From :'Matin,Sajjad'
                           '<matins@ SEC.GOV>
        Subject:Re:Gentile --October23 Meeting
        Date:October13,2017 at10:49:15 AM EDT
        To:Adam Ford <aford@ fordobrien.com >
        Cc:''W eissm an,Jessica''<W eissmanlm @ sec.gA >,Suzanne Pope
        <âr
          ltèpetc'
                 pfordobrien.com >

        HiAdam,

        Yourclient'scurrentcondud which concernsusisthesame courseofcondud discussed lastyeac The
        declaration enumeratesthose issuesand conductofconcern,and we believethatconducthasbeen
        ongoing,including from asearlyasApril2016.

        Thanks,
        Sajjad
      ' On Oct13,2017,at10:02 AM ,Adam Ford <aford@ fordobrien'.com >wrote:


                 SajjadandJessica,
               ''Thankyouforyouremailand forwardingtheprioremails,ofW hich 1wasaware.Ithink
                 the confusion stemsfrom thefactthatduring ourIastconversa/onyou indicated to me
                 thatthescope ofyourinvestigation haschanged signi  ficantlysince we spoke Iastyear.
                 Specifically,duringthe Iastcallyou informed usthatnow youroffice isonlyfocused on
                 post-indictmentconduct,somethingthatdid notappeartobethecaseIastyear(and
                 wascertainlynotaY culated,accordingtoournotes).Indeed,mynotesfrom those
                 conversations,reflectconcernsthatyouroffice identifiedthatpre-datedthe indictment,
                 andwe speci  fically addressed mattersduringthose callsthatpre-datedthe indictment.
                 Accordingly,evenwith the benefitofthedeclaration and ourpriornotes,i  tisdim cultfor
                 usto reliably determine whatisstillin issue - Ido notseethatasfeigning ignoranceso
                 m uch asmygoodfaith attemptto haveafully productive conversationwithyou were we
                 werenotsaying irrelevantthingsthatdo notaddressyourconcerns.

                                                                                                        Page 1of4
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          Yourcomm entthatyou havebeenm orethan clearand comm unicative mayhave been
          true Iastyear,butgiven ourIastconversation inwhichyouasserted thatyouwould not
          have anypre-wellsdiscussionwith methatinvolved yourproviding uswiththespecific
          factsthatyou are stillconcerned withtoday, ldo notthinkitremainsqui
                                                                            te asaccurate.

          lnany event,see you onthe 23rd.

          --   Adam


          Adam C.Ford
          Partner

          FORD O'BRIEN LLP
          575FiRh Avenue,17th Floor
          New York,N Y 10017
          Tel:+ 1(212)858-0040
          aford@fordobrien.com
          O pu//fordobrien.com


                  OnOct12,2017,at12:07PM,Matin,Sajjad<matins@SEC.GOV>wrote:
                  Adam and Suzanne,

                           Asyou are aware,yourclient,Guy Gentile,hasrefused to
                  testify in ourm atterpursuantto a Com m ission subpoena. W e have
                  been m ore than clearand com m unicative throughoutourdiscussions
                  regarding the scope ofconductforw hich we believe ism aterialto our
                  investigation.Asyou m ay recall,we had severaldiscussionsin m id-
                  2016 pertaining to yourclient'sdesire to asserthisFifth Am endment
                  rightagainstself-incrim ination duringtestim ony. To addressthose
                  concernswe provided toyou,inJuly2016,adeclaratjonwhich
                  explicitly listed the issuesw hich were ofconcern to us.W e again
                  forwarded the same inform ation to you in July 2017 atyourrequest.
                  Thosecorrespondences(includingthedeclarationattached to each)
                  are attached to thisem ail.
                            Given thatyou/ve been aware ofthe conductand contentof
                  inform ation w hich we are interested in for.overa year, itseem sodd
                  thatyou now feign ignorance. W e w elcom e the m eeting you
                  proposed on October23rd and willsee you then.

                  Regards,
                  Sajjad

                  Sajjad M atin
                  U.S.Securidesand Exchange Com m ission
                  Division ofEnforcement
                  m atinsl sec.
                      - --    gpx
                  305.982.6321

                  From :Adam Ford rmailto:afordlfordobrienxcom)
                  Sent:Wednesday,Odober11,2017 11:47 AM

                                                                                             Page 2 of4
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               To:Matin,Sajjad;Weissman,Jessica
               Cc:Suzanne Pope
               Subjeu :Gentil
                            e --Odober24 Meeting

               SajjadandJessica,
                      Inadvanceofourmeetingon October23rd,Ijustwanted
               to m ake certain thatw e w ere on the sam e page fortopics of
               discussion based on ourpriorconversations.You had given us
               som e inform ation ofw hatw e do notneed to focus on,although
               you declined totelluswhatissuesyou thoughtwe should focus
               on,orwhatconductwasatissue.You also inform ed usthatyou
               are attheûçtail-end''ofyourinvestigation.A ssuch,webelieve
               now isthe appropriatetim eto come in.

                       On September25,you inform ed usthatyourinvestigation
               very specifically doesnothave anything to do with,orwasrelated
               in any w ay to the events in N ew Yorkm ew Jersey and any
               instructionsthatm ay have been given by the N J AU SA S/FBl
               agents/orSEC attorneys. You toldusthatyou have ''focused,
               honed in,and cutout''conductthatoccurred dtlringthetim e
               period ofhiscooperation untilhewasindicted in M arch 2016,and
               you areonly focused on thetimeperiod outsidehiscooperation,
               i.e.,post-indictmentconduct.

                       You also infonued usthatitisunnecessaryto discussany
               issue raised during the priorFIN R A inquiry,w hich w asclosed
               afterw e subm itted a W ells Subm ission. M oreover,our
               presentation doesnotneed to focuson anything related to what
               any FBIagentm ay have directed Gentileto do.

                      W hileyou declined to provideuswith any pre-W ells
               discussion ofwhatevidenceyou have,ûtbased on ourprevious
               conversations,(I1shouldknow theconcems''thatyourofficehas.
               To beclear,based on ourpriordiscussions,my understanding of
               yourconcernsarethat(1)GentilehasbeenpresentonUS soil
               while SureTraderwasoperating,and revieWed information
               remotely from NX (2),thathefiledcorporatepaperworkin
               Delaware,and(3)thatSureTraderservicesUSclients.
               Accordingly,ourpresentation willbefocused on thesethree areas
               ofconcern.

                       O urpresentation and discussion on the 23rd w illfollow
               the above fram ew ork.Ifyou have anything additionalto share
               w ith usin advanceofthe meeting,we stillbelieve thatwould be
               m osthelpful.A s 1stated on severaloccasions,m y clienthasno
               interestin being in violation ofany securities law sand ifyour
               office believesany conductis so violative,w e w ould appreciate
               beingtold so thatitcan becorrected im mediately.As1reiterated
               on ourpriorcalls,w e do notbelieve ourclientshould be forced to
               guessasto w hatconcerns the SEC hasregarding his conduct.

                                                                                 Page 3 of4
Case 1:21-cv-21079-BB Document 28 Entered on FLSD Docket 10/20/2021 Page 26 of 38


                           Seeyou on the 23rd.
               --
                    Adam
               Adam C.Ford
               Pa/ner

               FORD O'BRIEN LLP
               575 Fifth Avenue,17th Floor
               New York,N Y 10017
               Tel:+ 1(212)858-0040
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                    jîlbrdobrien,
                                com
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                                                                                             .*




     Guy Gentile
     103Ave De Diego
     Apt.52202
     San Juan,PR 00911
     787-363-7833

                                       Septembet29,2021




     The Hdnorable Judge Beth Bloom
     United States DistrictCburt
     Southern DistrictofFlorida
     W ilkie D.Ferguson,Jr.United States Coudhouse
     400 North M iamiAvenue
     Chambprs 10-2
     M iam i,Florida 33128


        Re:Securities and Exchange Com m ission v.Guy Gentile,No:1:21-CV-21079-Bloom '
                                                                   .




     DearJudge Bloom;.

           Iam selfrepresentingmyselfuntilIcanhirecouns:linthq above-referenced
     matterin response to the SEC'S M otion filed'septem ber20,2021. Ihope Iwillbe
                                                           l

     allowe: afairopportunitytocleyrthe req
                                          !'
                                            ordand allow me to show the càurtthe SEC
                                                               .



    did Iittle to nothing to try and properly serke m e which is my due process rights.The
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                                                                   *
                                  .

    SEC di
         d notonce'try to serve me atmy address.lreceived zero phone calls from
    security,zero knocks on my door,and no one was waiting forme outside. The SEC

    showed this courtthatthey had my em ailaddress,and they have my phone number,

    butnoone called oremailed mer Forsix monthsthe SEC couldn'tfind someondwho is
  Case 1:21-cv-21079-BB Docunient23 Entered on FLSD Dockqt10/06/2021 Page 2 of4
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     Sept.27,2021
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     6'2 in on a sm allisland ofm epw i
                                      th an aver4ge heightof5'6, FBlSp:cialAgeqt
     Stephanie Davis once told me MIstand ouf', so ithard to believe anyone was really

     trying to gerve me.IIeqve m y apartm entalm ostevery day and frequentpopular

     restauraptqnearby.
           The reality is the bEC di
                                   d notc@re aboutserving me, they instead only cared
                                      .                         '

     aboutharassing m y Ioved ones, forexample sending the Police to intim idate my

     girlfriend,pretending to have a warrant, pretending to be property inspectors to illegal
       ,                                         '



     gaihaccesstothe insideoftheapartment,iretendingtoberealestateagqntsand
     many otherquestionable actions.The SEC is the FederalG overnmentand ifthey
     wanted m e yerved lwould be,'they have resources no one else has. The SEC'S e#ods
                       .




     hereareonlyaboutpainting the tape ofmé'being uncooperative ltis funny how quickly
                                                                      .



     the SEC forgets thatthey had dpen access to everything in m y Iife fornearly4 years
    when Iwas working almostfulltime w ith them and the FBI. Ihave helped the SEC fof

    yearsbring cases,butwhen Ididn'iwanttodo itanymore iswhentheystadedthe
    harassmentcampai
                   gn againstme th4thasbeengoingonforovert years.


    SEC False Statem ents

           I'm notgoing to addressaIIofthe SED bogus claimshere becapsethe Iistwould
    be too long.Butfoiexam ple,Jessica W eissman's declaration claim s Iwas the only
                           '
                               .
                                                                                         .

    signerforthe SureTraderbrokerage account. This isalso falpe,she provides no ptoof.

    The SEC knows,butintentionallydid nottellthe Coud tie truthaboutthisbecausèthe
    sEc stavattorneysIbelievqthinktàeyareabovetheIaw.The reapon1know thisis


                GUY GENTILE 1103AVE DE DIEGO,52202,SAN'JUAN PR 009111787463-7833
  Case 1:21-cv-21O79-BB Document23 Entered On FLSD Docket10/06/2021 Page 3 of4
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     Sept.27,2021
     Page 3 of4


     because Iworked with them foryears and know how they stretch the truth tillthe pointit
     isa lie.The SEC Iikesto regurgitate theiroften repeated skewed views ofme.This is

     notthe SEC firstattem ptatdoing this.Ihave been too often the victim ofthe sp ugness

     oftheseIineSEC attorneys.ihisisthereasonI'm writingthislettertoyoual
     Conclusion

            Iam requestingthattheSEç hroperlyservesme.Iwillbe happyto receivefrom
     the SEC an overnightmailofthe summ ons and com plaintto my address above,orhave
     theirprocess servermeetmè outpide m y apartmentatan agreed upon date and tim e.l
     respectfilly requestthe courtto allow me 90 days to answerthe com plaintonce served

     asthisisa complexçase thats/ans 10 years.zSince the SEC hastakenalmostsix
     m onths to try and serve me;as they have allegedly been investigating m e since 2013 to

     2021,which has caused the 3rd Circuitto callthem Iazy and incompident.The reason l
     need moretime is 1.ThereareoverFive (5)heavilydocked cases involvingthisune;2.
     The SEC'Sdiscoverythatthey unwillinglyprbvided inoneofthose çasesisso huge and

     1Ifthe SEC was so open and honestto this courtas itis required to be with aIIcouds,
     then whatis the reaspn they did nottellthis Courtaboutthe brow beating they received
     aboutthese sam e allegations in New Jersey thatthey are now bringing in Florida.
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     zThe SEC hasahistory ofoverreachingW ithme and notplaying fair.ForexaMple,the
     3rd CircuitJudge called the SEC attorneys Iazy and imcompetentand called their
     Floridainvestijationridiculous.'*w*
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                                                                                 e:/.lf
     you Iisten to thls 3rd Circuitaudio,you willclearly see this is retributipn againstm e.


                 GUYGENTILElI03AVEDEDIEGO,52202,SAN JUAN PRQ0911l787-363-7833
  Case 1:21-cv-21079-BB Document23 Entered on FLSD $ocket'10/06/2021 Page 4 of4
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     Sept.27,2021
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     purposelydisorganizedwith hundredsofthousandsofdocumentsarejustsome ofthe
     reasons why Ishould be granted 90 days to answqr.The SEC haswaited years and

     yearstobriigthis case;they are notprejudiced bywaiting 90 more daysformeto
     ansW er.




                                                        Respectfull      itted,



                                                        Gu       '    erSe

     cc:Alice K.Sum
     SECURITIES AND EXCHANGE CO MM ISSION
     801 BrickellAvenue,Suite 1950
     M iam i,Florida 33131




                GUY GENTILEI103AVEDEDIEGO,52202,SANJUAN PRQG911l787-363-7833
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